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CITY OF BUFFALO

DEPARTMENT OF LAW

EXHIBIT

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P-277 (7/89)

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MCDERMOTT LAUREN M 7
(LAST NAME) (FIRST NAME) = (M) (EMPLOYEE NO.)
08/03/2012 a:
(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
TYPE OF TRAINING pas | PASE | NSLRE | eSRtBED
2013 GLOCK QUALIFICATION 01/22/2013 | 01/22/2013 YES
WORK PLACE VIOLENCE 06/06/2013 | 06/06/2013 1 YES
DOMESTIC VIOLENCE 06/06/2013 | 06/06/2013 1 YES
ART 35/USE OF FORCE 06/06/2013 | 06/06/2013 2 YES
BLUE TEAM 11/18/2013 | 11/18/2013 2 YES
TRACS 10 SUMMONS 11/18/2013 | 11/18/2013 4 YES
PATROL RESP TO AHOMCALLOUT | 02/16/2014 | 02/16/2014 1 YES
2014 GLOCK QUALIFICATION 03/18/2014 2 YES
ART 35/USE OF FORCE 05/02/2014 | 05/02/2014 2 YES
NARCAN 05/02/2014 | 05/02/2014 2 YES
TECC 05/02/2014 | 05/02/2014 4 YES
TECC 05/02/2014 | 05/02/2014 4 YES
TAHOE 05/02/2014 | 05/02/2014 4 YES
2014 GLOCK QUALIFICATION 10/14/2014 2 YES
PATROL RESP TOAHOMCALL OUT | 01/12/2015 | 01/12/2015 1 YES
2015 GLOCK QUALIFICATION 02/11/2015 2 YES
BPD ASSESSMENT AND 11/08/2015 | 11/08/2015 3 YES
FUNDAMENTAL FIREARMS
DEVELOPMENT
ETHICS 2015/2016 01/07/2016 | 01/07/2016 4 YES
SEXUAL 01/07/2016 | 01/07/2016 1 YES
HARASSMENT/DISCRIMINATION IN

 

 

 

 

 

 

JURAT: THIS DOCUMENT REPRESENTS A RECORD OF TRAINING BY THE HEREIN NAMED
MEMBER OF THE BUFFALO.POLICE DEPARTMENT.

| SO CERTIFY, AS THE TRAINING OFFICER FOR THE BUFFALO POLICE DEPARTMENT,
THAT IT IS ACCURATE AND CORRECT.

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P-277 (7/89)

MCDERMOTT LAUREN M

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(LAST NAME) (FIRST NAME) (M) (EMPLOYEE NO.)

08/03/2012 a

(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)

DATE DATE NO. OF COURSE

TYPE OF TRAINING FROM TO HOURS | COMPLETED

WORKPLACE

SOS OVERVIEW 01/07/2016 | 01/07/2016 1 YES

HOMICIDE OVERVIEW 01/07/2016 | 01/07/2016 1 YES

2016 GLOCK QUALIFICATION 06/01/2016 2 YES

LAW ENFORCEMENT AND MENTAL 08/04/2016 | 08/04/2016 3 YES

HEALTH

SEARCH AND SEIZURE 08/04/2016 | 08/04/2016 2 YES

DIR UPDATE 2016 08/04/2016 08/04/2016 1 YES

SHOTGUN 2016 10/18/2016 | 10/18/2016 8 YES

2017 GLOCK QUALIFICATION 05/25/2017 2 YES

BLUE COURAGE II 11/27/2017 | 11/27/2017 6 YES

2018 USE OF PHYSICAL FORCE/USE 10/02/2018 10/02/2018 1 YES

OF DEADLY PHYSICAL

FORCE/ARTICLE 35

2018 ASP REFRESHER AND 10/02/2018 | 10/02/2018 4 YES

UPDATES/CAP SPRAY REFRESHER

AND UPDATES/DT REFRESHER AND

UPDATES

2018 BLOOD BORNE PATHOGENS 10/16/2018 10/16/2018 3 YES

AND INFECTIOUS DISEASES AND

PESH

2018 LEGAL UPDATES 10/16/2018 | 10/16/2018 YES

2018 ACTIVE SHOOTER 10/23/2018 | 10/23/2018 6 YES

 

 

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DATE
Case 1:18-cv-00402-LJV-JJM Document 78 Filed 05/01/21 Page 4 of 16

P-277 (7/89)

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

MCDERMOTT LAUREN M ma

(LASTNAME) = (FIRST NAME) = (M) (EMPLOYEE NO.)

08/03/2012 a:

(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
DATE DATE NO. OF COURSE

TYPE OF TRAINING FROM TO HOURS | COMPLETED

2018 RESCUE TASK FORCE 10/23/2018 | 10/23/2018 6 YES

CIT-CRISIS SERVICES 12/03/2018 | 12/06/2018 32 YES

2018 GLOCK QUALIFICATION 12/17/2018 YES

2019 GLOCK QUALIFICATION 01/21/2019 YES

2019 BLOODBORNE PATHOGENS 02/20/2019 | 02/20/2019 YES

AND INFECTIOUS

DISEASES/PESH/LEGAL UPDATES

2019 SEXUAL HARASSMENT AND 02/20/2019 | 02/20/2019 1 YES

DISCRIMINATION

2019 ASP, CAP SPRAY, DT 02/20/2019 | 02/20/2019 5 YES

REFRESHER AND UPDATES/USE OF

FORCE AND DEADLY PHYSICAL

FORCE/ ARTICLE 35

 

 

 

 

 

 

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Case 1:18-cv-00402-LJV-JJM Document 78 Filed 05/01/21 Page 5 of 16

P-277 (7/89)

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MORIARITY KYLE T ma

(LAST NAME) (FIRST NAME) (M) (EMPLOYEE NO.)

11/04/2016

(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
TYPE OF TRAINING rom | MOT | AGUS | cOGURSE.,

DRUG TEST POLICY 11/04/2016 | 11/04/2016 1 YES

EAP 11/04/2016 | 11/04/2016 1 YES

RULES AND REGULATIONS 11/04/2016 | 11/04/2016 1 YES

SEXUAL 11/04/2016 | 11/04/2016 1 YES

HARASSMENT/DISCRIMINATION IN

WORKPLACE

RULES AND REGULATIONS 11/04/2016 | 11/04/2016 1 YES

CHAPTER III GENERAL CONDUCT

MOP 1 11/23/2016 | 11/23/2016 1 YES

POLICE & DOG ENCOUNTERS 11/24/2016 | 11/24/2016 1 YES

TAHOE 11/25/2016 | 11/25/2016 4 YES

PURSUIT POLICY 11/25/2016 | 11/25/2016 2 YES

BLUE TEAM 11/25/2016 | 11/25/2016 2 YES

FIRST AID QUALIFIER (NARCAN, LIFE | 11/25/2016 | 11/25/2016 1 YES

SLING, CPR, TOURNIQUET)

MCT 1 11/28/2016 | 11/28/2016 2 YES

DIR UPDATE 2016 11/28/2016 | 11/28/2016 1 YES

BLOODBORNE PATHOGENS 2016 11/28/2016 | 11/28/2016 1 YES

EAP 11/28/2016 | 11/28/2016 1 YES

TRACS 11/29/2016 | 11/29/2016 4 YES

HOMICIDE OVERVIEW 11/30/2016 | 11/30/2016 1 YES

SOCIAL MEDIA POLICY 12/01/2016 | 12/01/2016 1 YES

 

 

 

 

 

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MEMBER OF THE BUFFALO POLICE DEPARTMENT.

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P-277 (7/89) BUFFALO POLICE ACADEMY TRAINING RECORD

MORIARITY KYLE T

(LASTNAME) — (FIRSTNAME) = (M) (EMPLOYEE NO.)

11/04/2016 Gs

(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
TYPE OF TRAINING pars | PAE | ASCE | SOURS.

WORK PLACE VIOLENCE 12/29/2016 | 12/29/2016 1 YES

HOMICIDE UPDATE 2017 02/15/2017 | 02/15/2017 1 YES

FEDERAL FIREARMS LAWS & GANGS | 02/15/2017 | 02/15/2017 2 YES

NATURAL GAS EMERGENCY 02/15/2017 | 02/15/2017 1 YES

USE OF FORCE POLICY 2017 02/15/2017 | 02/15/2017 1 YES

SOS UPDATE 2017 02/15/2017 | 02/15/2017 1 YES

ERT FAMILIARIZATION 03/17/2017 | 03/17/2017 4 YES

BLUE COURAGE SESSION | 08/29/2017 | 08/29/2017 8 YES

2018 GLOCK QUALIFICATION 02/28/2018 3 YES

2018 ASP REFRESHER AND | 04/26/2018 | 04/26/2018 4 YES

UPDATES/CAP SPRAY REFRESHER
AND UPDATES/DT REFRESHER AND

 

 

 

 

 

 

 

UPDATES

2018 LEGAL UPDATES 04/26/2018 | 04/26/2018 1 YES
2018 USE OF PHYSICAL FORCE/USE 04/26/2018 | 04/26/2018 1 YES
OF DEADLY PHYSICAL

FORCE/ARTICLE 35

2018 MISSION STATEMENT . 04/26/2018 | 04/26/2018 1 . YES
2018 MENTAL HEALTH 04/26/2018 | 04/26/2018 3 YES
201 8 ACTIVE SHOOTER 10/08/2018 | 10/08/2018 6 YES
2019 GLOCK QUALIFICATION 02/06/2019 3 YES

 

 

 

 

 

 

 

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Case 1:18-cv-00402-LJV-JJM Document 78 Filed.05/01/21 Page 7 of 16

P-277 (7/89)

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SCHULTZ KARL B 7
(LAST NAME) (FIRST NAME) = (M) (EMPLOYEE NO.)
08/01/2008
(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
TYPE OF TRAINING FROM | “TO | HOURS | COMPLETED
RULES AND REGULATIONS 08/01/2008 | 08/01/2008 1 YES
ETHICS 08/13/2008 | 08/13/2008 2 YES
WMD ICS 100 11/18/2008 | 11/18/2008 1 YES
MCT Refresher 11/24/2008 | 11/24/2008 2 YES
WMD NIMS 700 12/12/2008 | 12/12/2008 3 YES
NIK TEST 01/02/2009 | 01/02/2009 1 YES
ELDER ABUSE 01/09/2009 | 01/09/2009 8 YES
LPR 01/28/2009 | 01/28/2009 2 YES
2009 GLOCK QUALIFICATION 03/11/2009 YES
IN-CAR 05/24/2010 | 05/24/2010 2 YES
TRACS 01/11/2012 | 01/11/2012 4 YES
BLOODBOURNE PATH 2013 - 2014 02/06/2013 | 02/06/2013 1 YES
ASP TRAINING 02/06/2013 | 02/06/2013 8 YES
TRACS 10 SUMMONS 12/03/2013 | 12/03/2013 4 YES
BLUE TEAM 12/03/2013 | 12/03/2013 2 YES
PATROL RESP TO A HOM CALL OUT 03/03/2014 | 03/03/2014 1 YES
2014 GLOCK QUALIFICATION 03/10/2014 2 YES
TAHOE 04/01/2014 | 04/01/2014 4 YES
FIELD TRAINING OFFICER - 05/28/2014 | 05/30/2014 30 YES
CERTIFIED
NARCAN 10/14/2014 | 10/14/2014 2 YES

 

 

 

 

 

 

 

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MEMBER OF THE BUFFALO POLICE DEPARTMENT.

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Case 1:18-cv-00402-LJV-JJM Document 78 Filed 05/01/21 Page 8 of 16

P-277 (7/89) BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SCHULTZ KARL B ia
(LAST NAME) (FIRST NAME) (M) (EMPLOYEE NO.)
08/01/2008 as
(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
. DATE DATE NO. OF COURSE
TYPE OF TRAINING FROM TO HOURS | COMPLETED
ART 35/USE OF FORCE 10/14/2014 | 10/14/2014 YES
TECC 10/14/2014 | 10/14/2014 4 YES
PATROL RESP TO AHOM CALL OUT 01/27/2015 | 01/27/2015 1 YES
2015 GLOCK QUALIFICATION 01/28/2015 2 YES
MCT - RECERTIFICATION 02/26/2015 | 02/26/2015 1 YES
DOMESTIC VIOLENCE/LETHALITY 02/26/2015 | 02/26/2015 1 YES
ACTIVE SHOOTER 05/27/2015 | 05/27/2015 8 YES
BLUE TEAM 10/24/2015 10/24/2015 2 YES
ETHICS 2015/2016 11/23/2015 11/23/2015 4 YES
SEXUAL 11/23/2015 | 11/23/2015 1 YES
HARASSMENT/DISCRIMINATION IN
WORKPLACE
FIRST AID QUALIFIER (NARCAN, LIFE 02/21/2016 02/21/2016 1 YES
SLING, CPR, TOURNIQUET)
CULTURAL DIVERSITY AND 02/21/2016 | 02/21/2016 3 YES
AWARENESS 2016
BLOODBORNE PATHOGENS 2016 02/21/2016 | 02/21/2016 1 YES
2016 GLOCK QUALIFICATION 06/20/2016 2 YES
SEARCH AND SEIZURE 06/20/2016 | 06/20/2016 2 YES
LAW ENFORCEMENT AND MENTAL 06/20/2016 | 06/20/2016 3 YES
HEALTH
SHOTGUN 2016 10/18/2016 10/18/2016 8 YES

 

 

 

 

 

 

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Case 1:18-cv-00402-LJV-JJM Document 78 Filed 05/01/21 Page 9 of 16

P-277 (7/89)

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SCHULTZ KARL B. 7

(LAST NAME) (FIRST NAME) (M) (EMPLOYEE NO.)

08/01/2008 ss a

(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
DATE DATE NO. OF COURSE

TYPE OF TRAINING FROM TO HOURS | COMPLETED

NATURAL GAS EMERGENCY 02/15/2017 | 02/15/2017 1 YES

USE OF FORCE POLICY 2017 02/15/2017 | 02/15/2017 1 YES

SOS UPDATE 2017 02/15/2017 | 02/15/2017 1 YES

FEDERAL FIREARMS LAWS & GANGS | 02/15/2017 | 02/15/2017 2 YES

HOMICIDE UPDATE 2017 02/15/2017 | 02/15/2017 4 YES

ERT FAMILIARIZATION 03/17/2017 | 03/17/2017 4 YES

POLICE & DOG ENCOUNTERS 03/17/2017 | 03/17/2017 1 YES

BLUE COURAGE SESSION | 05/16/2017 | 05/16/2017 8 YES

BLUE COURAGE II 11/27/2017 | 11/27/2017 6 YES

2018 SOS OVERVIEW 01/31/2018 | 01/31/2018 2 YES

HOMICIDE OVERVIEW 01/31/2018 01/31/2018 1 YES

2018 GLOCK QUALIFICATION 03/13/2018 3 YES

2018 USE OF PHYSICAL FORCE/USE 04/16/2018 | 04/16/2018 1 YES

OF DEADLY PHYSICAL

FORCE/ARTICLE 35

2018 LEGAL UPDATES 04/16/2018 | 04/16/2018 1 YES

2018 MISSION STATEMENT 04/16/2018 | 04/16/2018 1 YES

2018 MENTAL HEALTH 04/16/2018 | 04/16/2018 3 YES

2018 ASP REFRESHER AND 04/16/2018 | 04/16/2018 4 YES

UPDATES/CAP SPRAY REFRESHER

AND UPDATES/DT REFRESHER AND

UPDATES

 

 

 

 

 

 

 

JURAT: THIS DOCUMENT REPRESENTS A RECORD OF TRAINING BY THE HEREIN NAMED
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DATE
Case 1:18-cv-00402-LJV-JJM Document 78 Filed 05/01/21 Page 1 10 of 16

P-277 (7/89)

SCHULTZ KARL B

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

(LAST NAME) (FIRST NAME) (M) (EMPLOYEE NO.)

08/01/2008 Es

(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)

DATE DATE NO. OF COURSE

TYPE OF TRAINING FROM TO HOURS | COMPLETED

2018 OFFICER HEALTH AND 05/16/2018 | 05/16/2018 4 YES

WELLNESS

2018 ACTIVE SHOOTER POLICY AND | 05/16/2018 | 05/16/2018 1 YES

BALLISTIC VEST

2018 BLOOD BORNE PATHOGENS 05/16/2018 05/16/2018 3 YES

AND INFECTIOUS DISEASES AND

PESH

2019 GLOCK QUALIFICATION 02/04/2019 3 YES

CIT-CRISIS SERVICES 03/04/2019 03/07/2019 32 YES

2019 BODY CAMERAS 03/12/2019 03/12/2019 YES

 

 

 

 

 

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MEMBER OF THE BUFFALO POLICE DEPARTMENT.

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DATE

 

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Case 1:18-cv-00402-LJV-JJM Document 78 Filed 05/01/21 Page 11 of 16

P-277 (7/89)

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VELEZ JENNY M W
(LAST NAME) (FIRST NAME)  (M) (EMPLOYEE NO.)
07/02/2018 ss a
(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
TYPE OF TRAINING FROM | TO | HOURS | COMPLETED

RULES AND REGULATIONS 01/18/2013 | 01/18/2013 1 YES. -
DRUG TEST POLICY 01/18/2013 | 01/18/2013 1 YES
TRACS 05/27/2013 | 05/27/2013 4 YES
SEXUAL 05/27/2013 | 05/27/2013 1 YES
HARASSMENT/DISCRIMINATION IN
WORKPLACE
HARASSMENT & SEX DISCR. POLICY | 05/27/2013 | 05/27/2013 1 YES
IN-CAR 06/11/2013 | 06/11/2013 2 YES
BLUE TEAM 06/12/2013 | 06/12/2013 2 YES
MOP 18 06/12/2013 | 06/12/2013 1 YES
NIK TEST 06/12/2013 | 06/12/2013 1 YES
DOMESTIC VIOLENCE 06/13/2013 | 06/13/2013 1 YES.
WORK PLACE VIOLENCE 06/14/2013 | 06/14/2013 1 YES
TRACS 10 SUMMONS 09/19/2013 | 09/19/2013 4 YES
PATROL RESP TOAHOMCALL OUT | 02/16/2014 | 02/16/2014 1 YES

| 2014 GLOCK QUALIFICATION 03/18/2014 2 YES
TAHOE 04/10/2014 | 04/10/2014 4 YES
NARCAN 05/02/2014 | 05/02/2014 2 YES
ART 35/USE OF FORCE 05/02/2014 | 05/02/2014 2 YES.
TECC 05/02/2014 | 05/02/2014 4 YES
DOMESTIC VIOLENCE/LETHALITY 01/12/2015 | 01/12/2015 1 YES.

 

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P-277 (7/89)

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VELEZ JENNY M a
(LASTNAME) = (FIRSTNAME) —(M) (EMPLOYEE NO.)
07/02/2018 Ss; a
(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
DATE DATE NO. OF COURSE
TYPE OF TRAINING FROM TO HOURS | COMPLETED
PATROL RESP TOAHOMCALLOUT | 01/12/2015 | 01/12/2015 1 YES
MCT - RECERTIFICATION 01/12/2015 | 01/12/2015 1 YES
POLICE & DOG ENCOUNTERS 01/12/2015 | 01/12/2015 1 YES
2015 GLOCK QUALIFICATION 02/05/2015 2 YES
ACTIVE SHOOTER 05/12/2015 05/12/2015 8 YES
ETHICS 2015/2016 01/07/2016 | 01/07/2016 4 YES
ETHICS 2015/2016 01/07/2016 | 01/07/2016 4 YES
SOS OVERVIEW 01/07/2016 01/07/2016 1 YES
HOMICIDE OVERVIEW 01/07/2016 | 01/07/2016 1 YES
SEXUAL 01/07/2016 | 01/07/2016 1 YES
HARASSMENT/DISCRIMINATION IN
WORKPLACE
FIRST AID QUALIFIER (NARCAN, LIFE 02/06/2016 02/06/2016 1 YES
SLING, CPR, TOURNIQUET)
CULTURAL DIVERSITY AND 02/06/2016 | 02/06/2016 3 YES
AWARENESS 2016
BLOODBORNE PATHOGENS 2016 02/06/2016 | 02/06/2016 1 YES
2016 GLOCK QUALIFICATION 05/24/2016 YES
LAW ENFORCEMENT AND MENTAL 08/04/2016 | 08/04/2016 YES
HEALTH
SEARCH AND SEIZURE 08/04/2016 | 08/04/2016 2 YES
DIR UPDATE 2016 08/04/2016 | 08/04/2016 YES

 

 

 

 

 

 

 

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Case 1:18-cv-00402-LJV-JJM Document 78 Filed 05/01/21 Page 13 of 16

P-277 (7/89)

VELEZ JENNY M

BUFFALO POLICE ACADEMY TRAINING RECORD

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(LASTNAME) ~— (FIRSTNAME) —(M)
07/02/2018 a: a
(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
DATE DATE NO. OF COURSE
TYPE OF TRAINING FROM TO HOURS | COMPLETED

SHOTGUN 2016 10/18/2016 | 10/18/2016 8 YES
2018 GLOCK QUALIFICATION 03/28/2018 3 YES
SUPERVISOR HANDBOOK AND 07/02/2018 | 07/02/2018 2 YES
LEADERSHIP
SUPERVISOR ACCIDENT REPORTS 07/02/2018 07/02/2018 1 YES

| SUPERVISOR P-3 AND PAPERWORK | 07/02/2018 | 07/02/2018 1 YES
SUPERVISOR BLUE TEAM 07/02/2018 | 07/02/2018 1 YES
2018 SUPERVISOR ENHANCEMENT 10/01/2018 | 12/24/2018 1 YES
2018 BLOOD BORNE PATHOGENS 11/12/2018 11/12/2018 3 YES
AND INFECTIOUS DISEASES AND
PESH
2018 ASP REFRESHER AND 11/12/2018 | 11/12/2018 4 YES
UPDATES/CAP:SPRAY REFRESHER
AND UPDATES/DT REFRESHER AND
UPDATES.
2018 LEGAL UPDATES 11/12/2018 | 11/12/2018 1 YES
2018 USE OF PHYSICAL FORCE/USE | 11/12/2018 | 11/12/2018 1 YES
OF DEADLY PHYSICAL
FORCE/ARTICLE 35
2019 GLOCK QUALIFICATION 01/21/2019 3 YES
CIT-CRISIS SERVICES 03/04/2019 | 03/07/2019 32 YES

 

 

 

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DATE

TRAINING DIRECTOR
Case 1:18-cv-00402-LJV-JJM Document 78 Filed 05/01/21 Page 14 of 16

P-277 (7/89)

SANTANA DAVID T

BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(LASTNAME) = (FIRSTNAME) = (M) (EMPLOYEE NO.)
01/13/2012 Eso a
(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
TYPE OF TRAINING mare | PASE | ABE | SRNR
ACTIVE SHOOTER 02/08/2008 | 02/08/2008 YES
IN-CAR 06/06/2012 | 06/06/2012 2 YES
NIK TEST 06/07/2012 | 06/07/2012 1 YES
TRACS 06/12/2012 | 06/12/2012 4 YES
ART 35/USE OF FORCE 09/09/2012 | 09/09/2012 2 YES
DOMESTIC VIOLENCE 09/09/2012 | 09/09/2012 1 YES
BLOODBOURNE PATH 2013 - 2014 04/22/2013 | 04/22/2013 1 YES
ASP TRAINING 04/22/2013 | 04/22/2013 8 YES
BLUE TEAM 12/03/2013 | 12/03/2013 2 YES
TRACS 10 SUMMONS 12/03/2013 | 12/03/2013 4 YES
PATROL RESP TOAHOMCALL OUT | 03/03/2014 | 03/03/2014 1 YES
NARCAN 04/02/2014 | 04/02/2014 2 YES
TECC 04/02/2014 | 04/02/2014 4 YES
ART 35/USE OF FORCE 04/02/2014 | 04/02/2014 2 YES
TAHOE 04/02/2014 | 04/02/2014 4 YES
2014 GLOCK QUALIFICATION 08/08/2014 2 YES
PATROL RESP TOAHOMCALLOUT | 01/22/2015 | 01/22/2015 1 YES
2015 GLOCK QUALIFICATION 01/27/2015 2 YES
ACTIVE SHOOTER 05/27/2015 | 05/27/2015 8 YES
SEXUAL 11/23/2015 | 11/23/2015 1 YES
HARASSMENT/DISCRIMINATION IN

 

 

 

 

 

 

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MEMBER OF THE BUFFALO POLICE DEPARTMENT.

| SO CERTIFY, AS THE TRAINING OFFICER FOR THE BUFFALO POLICE DEPARTMENT,

THAT IT IS ACCURATE AND CORRECT.

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BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SANTANA DAVID T ma

(LAST NAME) (FIRST NAME) = (M) (EMPLOYEE NO.)

01/13/2012 oO

(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
TYPE OF TRAINING pie | CAE | BOO | cSguiSe

WORKPLACE

ETHICS 2015/2016 11/23/2015 | 11/23/2015 4 YES

BLOODBORNE PATHOGENS 2016 02/21/2016 | 02/21/2016 YES

CULTURAL DIVERSITY AND 02/21/2016 | 02/21/2016 3 YES

AWARENESS 2016

FIRST AID QUALIFIER (NARCAN, LIFE | 02/21/2016 | 02/21/2016 1 YES

SLING, CPR, TOURNIQUET)

LAW ENFORCEMENT AND MENTAL 06/20/2016 | 06/20/2016 3 YES

HEALTH

SEARCH AND SEIZURE 06/20/2016 | 06/20/2016 2 YES

2016 GLOCK QUALIFICATION 06/20/2016 2 YES

SOS UPDATE 2017 02/15/2017 02/15/2017 1 YES

HOMICIDE UPDATE 2017 02/15/2017 | 02/15/2017 1 YES

FEDERAL FIREARMS LAWS & GANGS | 02/15/2017 | 02/15/2017 2 YES

USE OF FORCE POLICY 2017 02/15/2017 | 02/15/2017 1 YES

NATURAL GAS EMERGENCY 02/15/2017 | 02/15/2017 1 YES

FIELD TRAINING OFFICER - 03/12/2017 | 03/14/2017 30 YES

CERTIFIED

POLICE & DOG ENCOUNTERS 03/17/2017 | 03/17/2017 1 YES

ERT FAMILIARIZATION 03/17/2017 | 03/17/2017 4 YES

BLUE COURAGE SESSION | 05/16/2017 | 05/16/2017 8 YES

BLUE COURAGE II 05/31/2017 | 05/31/2017 6 YES

 

 

 

 

 

 

 

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BUFFALO POLICE ACADEMY TRAINING RECORD

 

 

 

 

 

 

 

 

 

 

SANTANA DAVID T a7

(LAST NAME) (FIRST NAME) —(M) (EMPLOYEE NO.)

01/13/2012 a a

(APPOINTMENT DATE) (DOB) (SOCIAL SECURITY NO.)
DATE DATE NO. OF COURSE

TYPE OF TRAINING FROM TO HOURS | COMPLETED

ETHICS 2017 05/31/2017 | 05/31/2017 2 YES

2018 MISSION STATEMENT 03/12/2018 | 03/12/2018 1 YES

2018 USE OF PHYSICAL FORCE/USE 03/12/2018 | 03/12/2018 1 YES

OF DEADLY PHYSICAL

FORCE/ARTICLE 35

2018 LEGAL UPDATES 03/12/2018 | 03/12/2018 YES

2018 MENTAL HEALTH 03/12/2018 | 03/12/2018 3 YES

2018 ASP REFRESHER AND 03/27/2018 | 03/27/2018 YES

UPDATES/CAP SPRAY REFRESHER

AND UPDATES/DT REFRESHER AND

UPDATES

2018 GLOCK QUALIFICATION 07/25/2018 YES

2019 GLOCK QUALIFICATION 01/21/2019 YES

 

 

 

 

 

 

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